                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             HUNTINGTON DIVISION

CHRISTOPHER FAIN; ZACHARY
MARTELL; and BRIAN MCNEMAR,
Individually and on behalf of all others
similarly situated,

                      Plaintiffs,                        Civil Action No. 3:20-cv-00740
                                                         Hon. Robert C. Chambers, Judge

v.

WILLIAM CROUCH, in his official capacity as
Cabinet Secretary of the West Virginia
Department of Health and Human Resources;
CYNTHIA BEANE, in her official capacity as
Commissioner for the West Virginia Bureau for
Medical Services; WEST VIRGINIA
DEPARTMENT OF HEALTH AND HUMAN
RESOURCES, BUREAU FOR MEDICAL
SERVICES; TED CHEATHAM, in his official
Capacity as Director of the West Virginia Public
Employees Insurance Agency; and THE
HEALTH PLAN OF WEST VIRGINIA, INC.

                      Defendants.


     REPLY IN SUPPORT OF DEFENDANTS WILLIAM CROUCH, CYNTHIA BEANE,
     AND WEST VIRGINIA DEPARTMENT OF HEALTH AND HUMAN RESOURCES,
             BUREAU FOR MEDICAL SERVICES’ MOTIONS TO DISMISS
                   PLAINTIFFS’ CLASS ACTION COMPLAINT

        Defendants William Crouch, Cynthia Beane, and the West Virginia Department of Health

and Human Resources, Bureau for Medical Services (“WVDHHR”), by counsel, Lou Ann S.

Cyrus, Roberta F. Green, Caleb B. David, Kimberly M. Bandy, and Shuman McCuskey Slicer

PLLC, submit their combined Reply in support of their request that Plaintiffs’ Class Action

Complaint be dismissed against them. On January 11, 2021, Defendants William Crouch, Cynthia
Beane, and the WVDHHR filed their Motion for Partial Dismissal [ECF 23]. The motion sought

dismissal of the claim for compensatory damages against the WVDHHR based on Eleventh

Amendment immunity and argued that these claims are inappropriate for class handling given that

individual issues outweigh any determinants class members would have in common. On

January 13, 2021, the Court entered an Order and Notice fixing February 2, 2021, as the date by

which motions under Rule 12(b) must be filed [ECF 27]. On February 2, 2021, Defendants William

Crouch, Cynthia Beane, and the WVDHHR filed their Motion to Dismiss Plaintiffs’ Class Action

Complaint [ECF 32]. The motion raised issues related to standing and ripeness of Mr. Fain’s

claims, raised failure to exhaust administrative remedies in connection with Mr. Fain’s ACA claim

asserted in Count Two of the Complaint, and argued that the standing and ripeness issues represent

reasons that Mr. Fain is not an adequate class representative for the proposed Medicaid class.

        Plaintiffs filed their Combined Opposition to the Motions on March 2, 2021 (Plaintiffs’

Opposition) [ECF 50]. Since the filing of Plaintiffs’ Opposition, additional information has been

exchanged in informal discovery in an effort to streamline the case.1 Based upon this information,

on March 18, 2021, Plaintiff Fain entered into a stipulation that he would not seek relief on any of

his claims based upon any denial of hormone therapy.2 Therefore, the arguments raised in the

Motions to Dismiss need only be evaluated in terms of Plaintiff Fain’s alleged denial of surgical

care, as the allegations related to denial of hormone therapy have been abandoned by Mr. Fain.

Defendants submit their combined Reply in the framework of the streamlined scope of claims.




   1
     See Joint Motion for Extension of Deadline to File a Reply Brief, as to Stipulated Scope of Class, and
for Permission to File a Surreply, ECF 53, ¶¶5-9.
   2
     See Joint Motion for Extension of Deadline to File a Reply Brief, as to Stipulated Scope of Class, and
for Permission to File a Surreply, ECF 53, ¶10.

                                                    2
                                            ANALYSIS

I.     DEFENDANTS CROUCH, BEANE, AND THE WVDHHR ARE ENTITLED TO
       DISMISSAL OF PLAINTIFF CHRISTOPHER FAIN’S CLAIMS BECAUSE MR.
       FAIN HAS NOT BEEN DENIED COVERAGE BY MEDICAID, HE LACKS
       STANDING TO ASSERT HIS SPECULATIVE CLAIMS, AND HIS
       SPECULATIVE CLAIMS ARE NOT RIPE FOR REVIEW.

       Plaintiffs’ Class Action Complaint alleges that Christopher Fain has been the subject of

discrimination as a Medicaid participant on the basis of his sex and his transgender status. Compl.,

¶¶1, 82-87. On behalf of himself, and on behalf of a proposed class of Medicaid participants,

Plaintiff Fain seeks declaratory and injunctive relief against Defendants Crouch, Beane, and the

WVDHHR. Mr. Fain individually seeks compensatory damages from the WVDHHR for violation

of Section 1557 of the Patient Protection and Affordable Care Act, 42 U.S.C. §18116.

       In their Motion to Dismiss, Defendants Crouch, Beane, and the WVDHHR argue pursuant

to Rule 12(b)(1) that Mr. Fain lacks standing and his claims lack ripeness, which are questions of

subject matter jurisdiction. In Plaintiffs’ Opposition, Plaintiffs criticize the moving defendants for

raising this argument in a second, separate Rule 12(b) motion. As an initial matter, the Motion to

Dismiss was timely filed on February 2, 2021, pursuant to the Court’s Order and Notice, which

expressly contemplated the possibility of further 12(b) motions being filed and fixed a date for

such filing. Additionally, lack of jurisdiction of the subject matter is never waived. If lack of

jurisdiction appears at any time in the case, the court must dismiss the action. Duffield v. Memorial

Hosp. Ass’n, 361 F. Supp. 398 (S.D.W.Va. 1973). “If the court determines at any time that it lacks

subject-matter jurisdiction, the court must dismiss the action.” Rule 12(h)(3), F.R.C.P.

       Mr. Fain alleges that he requires a bilateral mastectomy as medically necessary care to treat

his gender dysphoria and eliminate the need for the ongoing use of a binder. Compl., ¶87. He

alleges that “the blanket exclusion in the Medicaid Plan bars him from receiving this medically


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necessary care.” Compl., ¶87. However, Mr. Fain does not allege that he has made any request that

such procedure be covered by Medicaid. Notably, in Plaintiffs’ Opposition, Mr. Fain does not

dispute the information contained in the Affidavit from UniCare Health Plan of West Virginia,

Inc., which demonstrates that Mr. Fain did not request any treatment related to a bilateral

mastectomy. [ECF 32-3].

       Plaintiffs suggest that the Affidavit from UniCare is “improper,” without further

explanation. However, such materials are permitted to demonstrate lack of jurisdiction. “On a

motion to dismiss for lack of jurisdiction, the Court is not constrained to consider only the

allegations of the complaint, but may consider materials outside the pleadings.” Kansas City Life

Ins. Co. v. Citicorp Acceptance Co., 721 F. Supp. 106, 107 (S.D.W.Va. 1989), citing Adams v.

Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). The burden of establishing jurisdiction is on the

Plaintiff. Id. Importantly, Plaintiff Fain does not dispute that he has not submitted any request to

UniCare for gender-confirming care. Instead, he argues that such a request is not necessary. Thus,

Mr. Fain admits that he is seeking relief based upon an alleged denial of coverage for care that he

has not sought. The concept of standing obligates Plaintiff to take the reasonable step of requesting

coverage before hauling Defendants into court regarding an alleged, hypothetical denial of

coverage for care that has not been requested.

       Plaintiff argues that he should not be required to request surgery because such request

would be futile due to being subject to a blanket exclusion. However, the brief history of this case

illustrates the flaw in Plaintiff’s argument. Plaintiff’s Complaint also alleged that hormone therapy

was subject to a blanket exclusion, but presumed futility did not prevent Mr. Fain from requesting

coverage for hormone therapy.3 As it turns out, it was not futile for him to do so, because hormone


   3
     See Cmplt., ¶82, indicating that Mr. Fain sought coverage through his MCO plan for hormone care to
treat gender dysphoria.
                                                   4
therapy is not subject to a blanket exclusion. [ECF 32-1, ¶7; ECF 32-2, ¶3]. This revelation has

resulted in Mr. Fain entering into a stipulation that he will not seek relief on any of his claims

based on any denial of hormone therapy. (ECF 53, ¶10]. This example illustrates the wisdom in

requiring Plaintiffs to experience actual harm before filing suit, instead of an assumed harm.

       The Supreme Court of the United States “has repeatedly held that an asserted right to have

the Government act in accordance with law is not sufficient, standing alone, to confer jurisdiction

on a federal court.” Allen v. Wright, 468 U.S. 737, 754, 104 S. Ct. 3315, 82 L. Ed. 2d 556 (1984),

abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

118, 126-27, 134 S. Ct. 1377, 188 L. Ed. 2d 392 (2014). A basis for standing related to alleged

discriminatory policies is accorded “only to ‘those persons who are personally denied equal

treatment’ by the challenged discriminatory conduct.” Id., at 755. In Moose Lodge No. 107 v. Irvis,

407 U.S. 163 (1972), the Supreme Court held that “the plaintiff had no standing to challenge a

club’s racially discriminatory membership policies because he had never applied for membership.”

Id. This commonsense approach ensures that the Court is not delving into hypothetical

controversies that have not materialized in any concrete way.

       In order to have standing, “a plaintiff must show (1) it has suffered an ‘injury in fact’ that

is (a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2)

the injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as

opposed to merely speculative, that the injury will be redressed by a favorable decision.” South

Carolina v. United States, 912 F.3d 720, 726 (4th Cir. 2019), quoting Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81, 120 S. Ct. 693, 145 L. Ed. 2d 610 (2000).

Mr. Fain has failed to show he has suffered an injury-in-fact sufficient to give rise to standing

because he has not requested coverage for a bilateral mastectomy.


                                                 5
       Similar to the standing argument, Mr. Fain’s claims against Defendants Crouch, Beane,

and the WVDHHR are not ripe for review and should be dismissed as a result. Controversies are

fit for judicial review when they are “final and not dependent on future uncertainties or intervening

agency rulings.” South Carolina v. United States, 912 F.3d 720, 730 (4th Cir. 2019), quoting Franks

v. Ross, 313 F.3d 184, 195 (4th Cir. 2002) (citation omitted). A claim is not ripe “if it rests upon

contingent future events that may not occur as anticipated, or indeed may not occur at all.” Id.,

quoting Scoggins v. Lee’s Crossing Homeowners Ass’n, 718 F.3d 262, 270 (4th Cir. 2013) (quoting

Texas v. United States, 523 U.S. 296, 300, 118 S. Ct. 1257, 140 L. Ed. 2d 406 (1998)).

       Mr. Fain’s claims similarly are not ripe because they rely upon a hypothetical future request

for coverage for a bilateral mastectomy, and upon hypothetical agency decisions that have not been

made. Thus, Mr. Fain’s claims are not ripe for judicial review and should be dismissed.

II.    DEFENDANTS RENEW THEIR MOTION TO DISMISS PLAINTIFFS’
       INDIVIDUALIZED, FACT-INTENSIVE CLASS ALLEGATIONS BECAUSE
       THEY REQUIRE PARTICULAR PROOF OF INDIVIDUALIZED HARM TO
       EACH ALLEGED CLASS MEMBER.

       To clarify preliminarily, Plaintiffs’ Opposition fails to address key portions of Defendants’

Motion, stops far short of identifying legal authority that would preclude dismissal of class claims

at this time, and fails to acknowledge, distinguish or adequately address the complexities of

Plaintiff Fain’s case (let alone any ‘class’ issues), which complexities demonstrate precisely why

it is evident even now that class certification is inappropriate. For all the reasons in Defendants’

Motion for Partial Dismissal and Motion to Dismiss, and those in Plaintiffs’ Opposition, the class

claims should be resolved now as a matter of law.

       Plaintiffs’ Opposition spends considerable energy on their position that “[t]he proper time

to make determinations about the proposed classes is upon a motion for class certification.”4


       4
           Plaintiffs’ Opposition at 14ff.
                                                 6
Despite the issues identified with Plaintiff Fain’s individual claim and the oddities of the

particularized (voluminous, individualized) pleading that continues even now, Plaintiffs’

admonitions to the Court that class allegations should not be addressed at the pleading stage ring

hollow. While more usually class deficiencies may be addressed at certification, delaying the

determination does not guarantee that certification will occur. Indeed, Plaintiffs rely upon the

District Court’s decision in Post v. AmerisourceBergen Corp., No. 1:19-CV-73, 2020 WL

8385621, at *5 (N.D.W.Va. Oct. 30, 2020), without providing more of the history of that claim.

The Amerisource decisions arise from and expressly cite the pre-civil-suit indictment and

conviction of a healthcare provider in Morgantown, WV, on inter alia 21 counts of distributing

controlled substances outside the bounds of professional medical practice for extensively and

allegedly improperly prescribing intravenous immunoglobin (IVIG) treatments. In the civil suit

that followed, the plaintiffs went through 12(b)(6) motions practice, two amended complaints and,

finally, court-ordered meetings – all where the factual predicates had been predetermined through

the criminal process.5

       Further, it is within this Court’s ‘broad discretion’ whether to proceed now on the class

issue or to delay until certification. Miller v. Baltimore Gas & Elec. Co., 202 F.R.D. 195, 198

(2001). Indeed, in Letart v. Union Carbide Corp. (cited by Plaintiffs6), and its companion

Sommerville v. Union Carbide, Civil Action No. 2:19-cv-878, 2020 U.S. Dist. LEXIS 97546

(S.D.W.Va. June 3, 2020), the District Court, Honorable Joseph Goodwin, Judge, found that

       “[s]ometimes the issues are plain enough from the pleadings to determine whether
       the interests of the absent parties are fairly encompassed within the named
       plaintiff’s claim, and sometimes it may be necessary for the court to probe behind
       the pleadings before coming to rest on the certification question.” Falcon, 457 U.S.

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     Post v. AmerisourceBergen Corp., Civil Action No. 1:19-cv-73, 2020 U.S. Dist. LEXIS 202492
(N.D.W.Va. Oct. 30, 2020); Post v. AmerisourceBergen Corp., Civil Action No. 1:19-cv-73, 2020 U.S.
Dist. LEXIS 203649 (N.D.W.Va. Nov. 2, 2020).
   6
     Plaintiffs’ Opposition at 15.
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        at 160. Accordingly, a motion to strike a complaint’s class allegations should be
        granted when “it is clear from the face of the complaint that the plaintiff cannot and
        could not meet [Fed. R. Civ. P.] 23’s requirements for certification because the
        plaintiff has failed to properly allege facts sufficient to make out a class or could
        establish no facts to make out a class.” Williams v. Potomac Family Dining Grp.
        Operating Co., No. GJH-19-1780, 2019 U.S. Dist. LEXIS 181604, 2019 WL
        5309628, at *5 (D. Md. Oct. 21, 2019) (internal citations and quotation marks
        omitted) (emphasis added).7

Further, Plaintiffs join Defendants in relying upon Rhodes v. E.I. DuPont de Nemours & Co. but

fail to disclose that Rhodes ended in class certification being denied because the “the plaintiffs …

failed to show that the class is ascertainable or that the class itself is cohesive. Instead, [the Court

found] that the plaintiffs’ claims require too much of an individualized inquiry to qualify for class-

wide treatment.”8

        Plaintiffs have not refuted Defendants’ assertion that class action claims constitute a

deviation from the general rule that litigation must be conducted by and on behalf of the individual

named parties only.9 That deviation is justified only to the extent the class representatives possess

inter alia the same interests and suffer the same injury as the proposed class members. 10 Once

again, the Supreme Court of the United States has found that class form is appropriate only where

economical to combine the claims and that the determination as to whether it is economical is a

practical one—when a common injury can be addressed and resolved by a class litigation without

doing damage to either, it makes sense to do so as a class action. Here, however, the economies of




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      Letart, Civil Action No. 2:19-cv-877, 2020 U.S. Dist. LEXIS 97542, *6 (S.D.W.Va. June 3, 2020);
Sommerville v. Union Carbide, Civil Action No. 2:19-cv-878, 2020 U.S. Dist. LEXIS 97546, *6
(S.D.W.Va. June 3, 2020).
   8
     253 F.R.D. 365, 381 (2008). See also Ball v. Union Carbide, 385 F.3d 713 (6th Cir. 2004), converting
a 12(b)(6) motion into a Rule 56 motion and denying class certification on the basis that the claims do not
raise a common medical component.
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      Wal-Mart Stores, Inc., v. Dukes, 564 U.S. 338, 349 (2011)(quoting Califano v. Yamasaki, 442 U.S.
682, 700-01 (1979)).
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      Dukes, 564 U.S. at 349 (quoting East Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403
(1977) (quoting Schlessinger v. Reservists Comm. To Stop the War, 418 U.S. 208 (1974))).
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the class form are unavailable, as it is even more evident now that particularized discovery would

be necessary in order to determine the individualized facts relative to Defendants’ duty to each

class member, the underlying facts of the breach of that duty as experienced by each class member,

and any causation between that breach and each particular class member’s alleged damages, such

that the class structure would be counterproductive, uneconomical, and contraindicated, as

follows.11

       Since filing their challenge to the class claims, Defendants have adduced information that

demonstrates precisely the impropriety of allowing Plaintiffs to proceed on this path. Plaintiff Fain

does not dispute nor deny that he has never sought surgical intervention and that, as a result, his

claim challenges alleged categorical denials that he has never received for a service he never

sought.12 And Plaintiff does not address or refute that the Complaint dedicates nearly one-quarter

of its content to nothing more than Plaintiffs’ particularized claims: twenty paragraphs to

particularizing inter alia Plaintiff Fain’s medical need, presenting history, status of gender

transition, and relationships with friends/family. Compl. at ¶¶ 68-87. The Complaint also dedicates

eighteen paragraphs to particularizing inter alia Plaintiffs Martell’s and McNemar’s allegations of

domestic situation, employment benefits, medical need, and claim denial history. Compl. at ¶¶ 88-

105. Indeed, Plaintiff’s Opposition dedicates an additional three pages to particularizing yet anew

the personal, emotional and medical background of Plaintiff Fain’s claims, further isolating his

claim from any putative class and yet again distancing the likelihood of meaningful class

litigation.13 Emblematic in this deep and developing personalization of the claims to Plaintiff

Fain’s history is that, as Defendants argued previously, a class action to determine the scope of


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      Cyrus ex rel. McSweeney v. Walker, 233 F.R.D. 467, 470 (S.D.W.Va. 2005), relying upon General
Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 157 n.13 (1982).
   12
      Plaintiffs’ Opposition at 26.
   13
      Plaintiffs’ Opposition at 3ff.
                                                 9
Medicaid regulations in any number of specific factual health situations and claims histories

undercuts any economies inherent in the Rule 23 process and is substantively improper for class

treatment. Plaintiff Fain was selected as the Named Plaintiff based presumptively on the expected

commonality of his claim and presumably after extensive and careful vetting of his history and

status. Yet through the 12(b) process alone, Mr. Fain has faced extensive challenge to his

understanding and representation of events. It is naïve to believe that any self-selected class of

putative plaintiffs will require any less rigorous review and assessment of their presentations,

diagnoses, prescriptive and other histories. In a nutshell, where Defendants’ affirmative defenses

rely upon “facts peculiar to each plaintiff’s case, class certification is erroneous.” 14

        “If the main issues in a case require the separate adjudication of each class
        member's individual claim or defense, a Rule 23(b)(3) action would be
        inappropriate…. Moreover, when individual rather than common issues
        predominate, the economy and efficiency of class action treatment are lost and the
        need for judicial supervision and the risk of confusion are magnified.”15

“A class action is maintainable under Rule 23(b)(2) when ‘the party opposing the class has acted

or refused to act on grounds generally applicable to the class, thereby making appropriate final

injunctive relief or corresponding declaratory relief with respect to the class as a whole.’" Barnes

v. American Tobacco, 161 F.3d 127, 142 (3d Cir. 1998). Yet here, where surgeries may or may

not be indicated for a variety of reasons, it is simplistic to allege that Defendants acted in each

instance or refused to act in each instance on grounds generally applicable to the class.




   14
      Broussard v. Meineke Disc. Muffler Shops, 155 F.3d 331, 333 (4tth Cir. 1998) (quoting In re Northern
Dist. Of Cal. Dalkon Shield IUD Prods. Liab. Litig., 693 F.2d 847, 853 (9th Cir. 1982)).
   15
      See also Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1189 (2001) (quoting 7A Charles Alan
Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 1778 at 535-39 (2d ed.
1986)) (footnotes omitted), also providing that “The most obvious alternative to a class action is to remit
the class members to the institution of individual actions. The 1966 amendments to the civil rules, which
expanded their already liberal joinder policy and significantly enlarged the right to intervene under Rule 24
have made this a more realistic possibility than it once was.”) (Footnotes omitted in original).
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          Indeed, even if this Court were to consider denying this motion and allowing this matter to

proceed to certification, that determination alone would not necessarily resolve the problems that

Plaintiffs would brush away now, citing Mr. Fain’s claim as merely ‘adequate.’16 That is, in Barnes

v. American Tobacco Co., 161 F.3d 127, 142 (3d Cir. 1998), a previously certified class (reached

after two amendments of the complaint) was decertified on the basis inter alia that individualized

medical histories created singular circumstances, inappropriate for class treatment. Id. (citing

Georgine v. Amchem Products, Inc., 83 F.3d 610 (3d Cir. 1996)). As demonstrated by the evidence

adduced relative to Plaintiff Fain, now, in the pre-discovery phase of this claim, particularized

discovery would be necessary to determine the individualized facts relative to Defendants’ duty to

each putative class member, the underlying facts of the breach of that duty as experienced by each

class member, and any causation between that breach and each particular class member’s alleged

damages, such that, once again, the economies of the class form are unavailable and the class

structure would be counterproductive, uneconomical, and contraindicated. See also Waters v.

Electrolux Home Prods., Civil Action No. 5:13-cv-151, 2016 U.S. Dist. LEXIS 92862 (N.D.W.Va.

Jul. 18, 2016) (finding individualized factual determinations mitigate against class certification).

          To reiterate, to the extent these Plaintiffs have particularized their claims to their precise

diagnosis, their precise medical needs, and their precise claims histories, then Rule 23 offers no

economies to what must become multiple separate litigations, joined only in the broadest sense.

The process becomes ever more cumbersome with the putative plaintiffs, without the initial vetting

of the two named plaintiffs. Even taking Plaintiffs’ claims in the light most favorable to them, the

class is ‘common’ only in the very broadest sense, in that, allegedly, each of the Plaintiffs would

like to ensure that coverage would not be denied to them on the basis that they are transgender,



  16
       Plaintiff’s Opposition at 14.
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suggesting that the best remedy might be legislative or administrative in nature. See Complaint,

generally. Repeatedly Plaintiff cites a ‘categorial denial’ of surgery – yet admits he never requested

surgery. Plaintiff Fain’s claims are complex, troubled, not ripe, and clearly a poor foundation for

a class undertaking. Whereas Plaintiffs allege courts have certified blanket denials of coverage,17

it is unclear here from their claims that the blanket denials exist or could or would exist. It is

concerning to Defendants that Plaintiffs would proceed without a named plaintiff who has

experienced the precise denials they allege.

       Plaintiffs urge this Court to use the alleged ‘categorical denials’ that they cannot

demonstrate as a springboard to class certification or its process. They suggest that ‘categorical

denials’ can defeat Wal-Mart Stores, Inc., v. Dukes. However, per Dukes, it is insufficient to

achieve commonality by having a would-be class of plaintiffs allege commonality based on

nothing more than violations of the same statute or law. The fact that the Dukes plaintiffs alleged

violations of Title VII was insufficient alone to make plaintiffs’ claims ‘common’ pursuant to

Federal Rules of Civil Procedure Rule 23 (a)(2), which reads that “there are questions of law or

fact common to the class.” Rather, the class claims must be particularized to a common contention,

which the Supreme Court in Dukes, an employment discrimination action, suggested could be

discriminatory bias on the part of the same supervisor. Yet, the Dukes Court declined to extend

evidence of one plaintiff’s experience to the other class members, absent particularized allegations

and proof.18 Therefore, once again, citing alleged violations of the Affordable Care Act, absent

more, citing ‘categorical denials,’ absent more, will not constitute commonality. Relying upon the

named Plaintiffs’ health and claims histories, absent more, will not constitute commonality with



  17
     Plaintiffs’ Opposition at 19.
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      Dukes, 564 U.S. at 356, finding that “[o]ne named plaintiff’s experience of discrimination is
insufficient to infer that discriminatory treatment is typical of an employer’s employment practices.”
                                                 12
the putative plaintiffs – even assuming that Plaintiff Fain’s complexities resolve. As demonstrated

repeatedly by the case law cited above, to the extent Plaintiffs were to particularize the experiences

of each putative plaintiff, then the economies of class are lost. Relative to the instant suit, class

claims add nothing to the challenge and complicate any ‘class’ handling of allegations that are too

broad or proof patterns that are too narrow. While Plaintiffs recount Defendants’ analysis per

Dukes,19 they advance little past the ‘categorical denials’ they have yet to experience or

demonstrate:

          “Conceptually, there is a wide gap between (a) an individual’s claim that he has
          been denied a promotion [or higher pay] on discriminatory grounds, and his
          otherwise unsupported allegation that the company has a policy of discrimination,
          and (b) the existence of a class of persons who have suffered the same injury as that
          individual, such that the individual’s claim and the class claims will share common
          questions of law or fact and that the individual’s claim will be typical of the class
          claims.”

Dukes, 431 U.S. at 353 (quoting General Telephone Co. of Southwest v. Falcon, 457 U.S. 147,

157-58 (1982)). Here, accepting Plaintiffs’ claims as true for the purposes of this motion, Plaintiffs

have been denied insurance coverage on discriminatory grounds. However, there is a wide gap

between that allegation and the assertion that there exists a class of persons who have suffered the

same injury, that they all share common issues of law or fact, and that the Plaintiffs’ claims will

be typical of that class. Whereas the Falcon Court suggests two workarounds, neither will work

for the instant claims. That is, a diverse group of plaintiffs could find commonality in a biased

testing procedure (not applicable here) or a general policy of discrimination that applied to all class

members. Here, once again, Plaintiffs assert a ‘categorical denial’ that they have not experienced

or demonstrated to date.




  19
       Plaintiffs’ Opposition at 21.
                                                   13
       To reiterate, pursuant to Federal Rule of Civil Procedure Rule 12(b)(6) as construed,

       “a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim
       to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.
       Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
       544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). To determine whether a claim
       has crossed “the line from conceivable to plausible,” the Court must employ a
       “context-specific” inquiry, drawing on the court’s “experience and common
       sense.” Iqbal, 556 U.S. at 679-80 (quoting Twombly, 550 U.S. at 570). When
       performing this inquiry, the Court accepts “all well-pled facts as true and construes
       these facts in the light most favorable to the plaintiff in weighing the legal
       sufficiency of the complaint.” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc.,
       591 F.3d 250, 255 (4th Cir. 2009). The Court need not, however, accept unsupported
       legal conclusions, Revene v. Charles Cnty. Comm’rs, 882 F.2d 870, 873 (4th Cir.
       1989), nor must it agree with legal conclusions couched as factual allegations, Iqbal,
       556 U.S. at 678, or conclusory factual allegations devoid of any reference to actual
       events, United Black Firefighters of Norfolk v. Hirst, 604 F.2d 844, 847 (4th Cir.
       1979); see also Francis v. Giacomelli, 588 F.3d 186, 193 (4th Cir. 2009).20

While Plaintiffs must be prepared to defend the suitability of maintaining this suit as a class action

at the class certification stage, the class claims can be challenged on 12(b)(6) motion to ensure

that, pursuant to Dukes, Plaintiffs’ claims sounding in coverage determinations and employment

benefits are capable of classwide resolution. That is, the Court need not allow discovery on the

propriety of any class claims but can determine on a 12(b)(6) motion that the claims are unsuitable

for class determination.21 Here, whereby their very nature, the class claims cannot and will not

achieve the requisite commonality, dismissal of the class claims alone will allow the named

Plaintiffs’ claims to proceed. While Defendants maintain that global relief is better achieved

through administrative or legislative change, nonetheless, the class of putative plaintiffs have no

role in an insurance coverage determination.




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     Williams v. Potomac Family Dining Group Oper. Co., LLC, Case No. GJH-10-1780, 2019 U.S. Dist.
LEXIS 181604, *18 (D. Md. Oct. 21, 2019).
  21
     Bessette v. Avco Fin. Serv., 279 B.R. 442 (D.R.I. June 7, 2002).
                                                  14
        Defendants maintain their position that Federal Rule of Civil Procedure 12(b)(6) allows a

defendant to challenge the sufficiency of a plaintiff’s complaint, and that challenge should be

granted where plaintiff has failed to ‘state a plausible claim for relief.’22 The Fourth Circuit has

joined the Supreme Court in finding that plaintiffs are required in their complaints to provide a

“‘showing’ rather than a blanket assertion of entitlement to relief.”23 Plaintiffs must provide

“enough facts to state a claim to relief that is plausible on its face,” that is, that “contain[s] ‘factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.’”24 The Fain Complaint by its express terms demonstrates the impropriety

of the class form for this claim. Rather than await class certification only to determine that the

class form will not work with medical complaints and coverage determinations, Defendants move

this Court to dismiss the class claims at this time. Whereas Plaintiffs’ individual claims would

remain as would other avenues more appropriate for systemic challenges,25 the parties could avoid

the investment of time and resources inherent in proving further that, per Dukes, the actual, not

presumed, conformance with Rule 23(a), including in particular commonality, is a mandate that

is undercut by these putative class members’ medical complaints and claims-handling

experiences. Defendants renew their dispositive motion, seeking an early determination that any

class claims constitute medical claims, such that they finally are not ‘cohesive enough’ to gain

any economies through class action.26




   22
      Walters v. McMahen, 684 F.3d 435, 439 (4th Cir. 2012).
   23
      Johnson v. Prosperity Mortgage Corp., Civil Action No. 11-cv-02532-AW, 2011 U.S. Dist. LEXIS
127328, *4-5 (D. Md. Nov. 3, 2011).
   24
      Clatterbuck v. City of Charlottesville, 708 F.3d 549, 554 (4th Cir. 2013) (quoting Ashcroft v. Iqbal,
556 U.S. 662 (2009)); see also Bell Atlantic Corp. v. Twombly, 350 U.S. 544 (2007).
   25
      N.B., however, these Defendants attest and assert, and in no manner waive, the additional grounds for
dismissal set forth herein.
   26
      Rhodes v. E.I. DuPont de Nemours & Co., 253 F.R.D. 365, 367, 370 (S.D.W.Va. 2008).
                                                    15
III.        THE WVDHHR IS ENTITLED TO DISMISSAL OF PLAINTIFF CHRISTOPHER
            FAIN’S CLAIM FOR COMPENSATORY DAMAGES PURSUANT TO THE
            ELEVENTH AMENDMENT TO THE UNITED STATES CONSTITUTION
            BECAUSE IT IS A STATE AGENCY.

            Mr. Fain’s claim against the WVDHHR for compensatory damages is a claim against the

State of West Virginia and is barred by the Eleventh Amendment to the United States Constitution.

Sovereign immunity constitutes “an important constitutional limitation on the power of the federal

courts.”27 It is possible for Eleventh Amendment immunity to be waived, however, in order for

waiver to be valid, a high level of clarity is required in two respects. First, clarity of intention.

Such waiver must be “‘unequivocally expressed’ in the text of the relevant statute.”28 Second, there

must be clarity in terms of communicating to the receiving State that the receipt of federal funds

is conditioned on a waiver of sovereign immunity.29 The “test for determining whether a State has

waived its immunity from federal-court jurisdiction is a stringent one.”30

            Plaintiff Fain seeks compensatory damages for violation of § 1557 of the Patient Protection

and Affordable Care Act (“ACA”), 42 U.S.C. §18116, which states:

            [e]xcept as otherwise provided for in this title (or an amendment made by this title),
            an individual shall not, on the ground prohibited under title VI of the Civil Rights
            Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the Education Amendments of
            1972 (20 U.S.C. 1681 et seq.), the Age Discrimination Act of 1975 (42 U.S.C. 6101
            et seq.), or section 504 of the Rehabilitation Act of 1973 (29 U.S.C. 794), be
            excluded from participation in, be denied the benefits of, or be subjected to
            discrimination under, any health program or activity, any part of which is receiving
            Federal financial assistance, including credits, subsidies, or contracts of insurance,

       27
       Sossamon v. Texas, 563 U.S. 277, 284, 131 S. Ct. 1651, 1657, 179 L. Ed. 2d 700, 708 (2011), citing
Pennhurst State School and Hospital v. Halderman, 465 US.89, 98, 104 S. Ct. 900, 79 L. Ed. 2d 67 (1984).
    28
       Id., 563 U.S. at 284, 131 S. Ct. at 1658, 179 L. Ed. 2d at 708, quoting Pennhurst State School and
Hospital v. Halderman, 465 U.S. at 99, 104 S. Ct. 900, 79 L. Ed. 2d 67 (additional citation omitted)
(emphasis added).
    29
       Arlington Cent. Sch. Dist. Bd. Of Educ. v. Murphy, 548 U.S. 291, 296, 126 S. Ct. 2455, 2459, 165 L.
Ed. 2d 526, 533-534 (2006), citing Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17, 101 S. Ct.
1531, 67 L. Ed. 2d 694 (1981).
    30
       Sossamon v. Texas, 563 U.S. at 284, 131 S. Ct. at 1658, 179 L. Ed. 2d at 708, quoting College Savings
Bank v. Florida Prepaid Postsecondary Ed. Expense Bd., 527 U.S. 666, 675, 119 S. Ct. 2219, 144 L. Ed.
2d 605 (1999) (internal quotation marks omitted).
                                                     16
         or under any program or activity that is administered by an Executive Agency or
         any entity established under this title (or amendments). The enforcement
         mechanisms provided for and available under such title VI, title IX, section 504, or
         such Age Discrimination Act shall apply for purposes of violations of this
         subsection.31

         On its face, Section 1557, the relevant statute, does not specify an unequivocal expression

of waiver of sovereign immunity in exchange for the receipt of federal funds under the ACA. In

fact, Section 1557 does not mention suits against States or sovereign immunity. Therefore, it does

not meet the strict requirements for waiver as outlined by the Supreme Court of the United States

in Sossaman v. Texas, 563 U.S. 277 (2011).

         Instead of relying upon the relevant statute, Section 1557, or even the ACA, Plaintiffs argue

that immunity is waived based upon the existence of an entirely separate statute enacted over thirty

years ago. Plaintiffs urge this court to deviate from the Supreme Court’s stringent test of examining

“the text of the relevant statute,” and to look elsewhere in order to infer a waiver. Specifically,

Plaintiffs argue that the waiver of sovereign immunity is provided by the Civil Rights Remedies

Equalization Act (“CRREA”), 42 U.S.C. §2000d-7(a)(1), which was enacted in 1986. The flaw in

Plaintiffs’ position is immediately evident. Plaintiffs argue that Section 1557 effectuates a waiver

of sovereign immunity only “when read in conjunction with CRREA.” Plaintiffs’ Opposition, ECF

50, p. 14. If the argument for waiver relies upon Section 1557 being read “in conjunction with”

another statute, then waiver is not “‘unequivocally expressed’ in the text of the relevant statute.”

Sossamon, 563 U.S. at 284, 131 S. Ct. at 1658, 179 L. Ed. 2d at 708, quoting Pennhurst State

School and Hospital v. Halderman, 465 U.S. at 99, 104 S. Ct. 900, 79 L. Ed. 2d 67 (additional

citation omitted).




  31
       42 U.S.C. §18116(a).
                                                  17
        As the United States Court of Appeals for the Tenth Circuit has eloquently expressed

regarding waiver in connection with the Americans with Disabilities Act, “[w]aiver cannot be

hidden in another statute and only apply through implication. For a waiver of sovereign immunity

to be ‘knowing and voluntary,’ it cannot be hidden in another statute and only applied to the ADA

through implication.” Levy v. Kansas Dep’t of Soc. & Rehab. Servs., 789 F.3d 1164, 1170 (10th

Cir. 2015). The Tenth Circuit joined the Supreme Court in stating that “Congress ‘does not . . .

hide elephants in mouseholes.’” Id., quoting Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468,

121 S. Ct. 903, 149 L. Ed. 2d 1 (2001).

        Plaintiffs cite to four district court cases in which the courts have found waiver of sovereign

immunity in the context of the ACA, none of which are binding on this Court. To the extent that

these cases rely upon the CRREA for waiver, Kadel v. Folwell, 446 F. Supp. 3d 1 (M.D.N.C. 2020)

and the remaining cases cited on pp. 11-12 of Plaintiffs’ Opposition disregard the Supreme Court’s

requirement that the waiver be “unequivocally expressed” in the text of the relevant statute itself.

        The United States Court of Appeals for the Fourth Circuit has not recognized a waiver of

sovereign immunity in connection with the ACA based on the CRREA, nor has any other Court

of Appeals.32 As acknowledged in Plaintiffs’ Opposition, one of the district court cases that found

waiver in this context is currently on appeal before the Fourth Circuit in Maxwell Kadel v. N.C.

State Health Plan, Case No. 20-1409. Oral Argument was held on March 11, 2021.

        In considering the issue of waiver, it is not for the Court to make inferences regarding

intentions that have not been expressed in Section 1557. The test for determining whether

sovereign immunity has been effectively waived is a straightforward one: it must be unequivocally


   32
     Plaintiffs’ Opposition cites Litman v. George Mason Univ., 186 F.3d 544 (4th Cir. 1999) and Lane v.
Pena, 518 U.S. 187 (1996), neither of which considered waiver of sovereign immunity in the context of the
ACA. Litman considered waiver of immunity in the context of Title IX of the Education Amendments Act
of 1972. Lane considered waiver of immunity in the context of the Rehabilitation Act §504(a).
                                                   18
expressed in the text of the relevant statute. Enactment of the CRREA in 1986 and making no

mention of it in Section 1557 or the ACA in 2010 does not meet this test. The question is not

whether the language of the CRREA is clear. The question is whether the language of Section

1557 expresses a waiver of sovereign immunity “unequivocally.” Upon reading the statute, the

answer to that question is a resounding “no.” Therefore, Mr. Fain’s claim against the WVDHHR

for compensatory damages is barred by the Eleventh Amendment to the United States Constitution.

IV.    DEFENDANTS WITHDRAW THEIR ARGUMENT THAT PLAINTIFF
       CHRISTOPHER FAIN HAS NOT EXHAUSTED ADMINISTRATIVE REMEDIES
       IN CONNECTION WITH HIS CLAIM ASSERTED IN COUNT TWO OF THE
       COMPLAINT FOR VIOLATION OF SECTION 1557 OF THE PATIENT
       PROTECTION AND AFFORDABLE CARE ACT.

       In their Motion to Dismiss, [ECF 32], Defendants argue that Mr. Fain’s claim asserted in

Count Two of the Complaint for violation of Section 1557 of the ACA should be dismissed because

Mr. Fain has not exhausted administrative remedies. Plaintiffs argue that this argument was not

timely raised. However, Plaintiffs provide no support for this position. The case cited in Plaintiffs’

Opposition, McKenzie-El v. Am. Sugar Refinery, Inc., No. CV RDB-20-0917, 2020 WL 7489021

(D. Md. Dec. 21, 2020), suggests that arguments based on exhaustion may be waived if not raised

in a “timely fashion.” Id., at *9. Nothing in McKenzie-El suggests that a 12(b) motion, timely filed

per the timeframe established by the Court, and filed prior to conducting formal discovery, should

not be considered timely.

       However, upon review of Plaintiffs’ Opposition, and particularly upon further review of

the reasoning underlying the court’s opinion in Papa v. Diamandi, 2020 U.S. Dist. LEXIS 25812,

*6 (E.D. Pa 2020) (unpublished), Defendants Couch, Beane, and the WVDHHR withdraw their

argument pursuant to Rule 12(b)(6) that Count Two of the Complaint should be dismissed for

failure to exhaust administrative remedies.


                                                 19
V.     PLAINTIFFS’ REQUEST FOR LEAVE TO AMEND CANNOT BE EVALUATED,
       BECAUSE PLAINTIFFS DO NOT OFFER ANY PROPOSED AMENDED
       COMPLAINT, OR ANY DESCRIPTION OF ANY PROPOSED AMENDMENTS.

       As an afterthought at the conclusion of Plaintiffs’ Opposition, Plaintiffs request leave to

amend “[i]f the Court is inclined to grant any part of Defendants’ motions to dismiss,” citing Scott

v. Family Dollar Stores, Inc., 733 F.3d 105, 118 (4th Cir. 2013). However, unlike the plaintiffs in

Scott, the instant Plaintiffs have not provided any proposed Amended Complaint for consideration.

Likewise, Plaintiffs have made no representation of any proposed amendments that would be

included in an amended pleading. Therefore, there is no basis upon which to evaluate Plaintiffs’

request in terms of, for example, whether the amendment would be futile. As such, Plaintiffs’

vague request for leave to amend should be denied.

                                         CONCLUSION

       For these reasons, Defendants Crouch, Beane, and the WVDHHR request that Plaintiff’s

Complaint be dismissed as against them, and for such further relief as the court may direct.

                                      WILLIAM CROUCH, CYNTHIA BEANE, and
                                      WEST VIRGINIA DEPARTMENT OF HEALTH AND
                                      HUMAN RESOURCES, BUREAU FOR MEDICAL
                                      SERVICES,

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                                                20
                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             HUNTINGTON DIVISION

CHRISTOPHER FAIN; ZACHARY
MARTELL; and BRIAN MCNEMAR,
Individually and on behalf of all others
similarly situated,

                      Plaintiffs,                            Civil Action No. 3:20-cv-00740
                                                             Hon. Robert C. Chambers, Judge

v.

WILLIAM CROUCH, in his official capacity as
Cabinet Secretary of the West Virginia
Department Of Health and Human Resources;
CYNTHIA BEANE, in her official capacity as
Commissioner for the West Virginia Bureau for
Medical Services; WEST VIRGINIA
DEPARTMENT OF HEALTH AND HUMAN
RESOURCES, BUREAU FOR MEDICAL
SERVICES; TED CHEATHAM, in his official
Capacity as Director of the West Virginia Public
Employees Insurance Agency; and THE
HEALTH PLAN OF WEST VIRGINIA, INC.

                      Defendants.


                                CERTIFICATE OF SERVICE

       Defendants William Crouch, Cynthia Beane and West Virginia Department of Health and

Human Resources, by counsel, hereby certify that on the 26th day of March, 2021, the foregoing

“REPLY IN SUPPORT OF DEFENDANTS WILLIAM CROUCH, CYNTHIA BEANE,

AND WEST VIRGINIA DEPARTMENT OF HEALTH AND HUMAN RESOURCES,

BUREAU FOR MEDICAL SERVICES’ MOTIONS TO DISMISS PLAINTIFFS’ CLASS

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